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                        IN THE UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF NEW MEXICO


UNITED STATES OF AMERICA,

               Plaintiff,

vs.                                                                              No. CR 03-2072 JB

ANTONIUS MARIA HEIJNEN,
ELIZABETH A. PERRAGLIO and
MARIA DEL CARMEN PATRON
RODRIGUEZ,

               Defendants.

                            MEMORANDUM OPINION AND ORDER

       THIS MATTER comes before the Court on Defendant Antonius Maria Heijnen’s Motion

for continuance, filed December 28, 2004 (Doc. 50). The primary issues are: (i) whether the Court

should continue Heijnen’s trial; and (ii) whether Heijnen is the Defendant named in the Superceding

Indictment. Because Heijnen does not present any sound reason why he cannot be ready for a trial

on February 14, 2005, or evidence that he is not the person named in the Superceding Indictment,

the Court will deny his motion.

                                PROCEDURAL BACKGROUND

       Heijnen appeared as a claimant in a civil forfeiture case, see United States v. $230,766.45,

Civil Docket 01-1225, under the name Antonius Heijnen. He filed a civil action in Second Judicial

District Court entitled Antonius M. Heijnen v. Lou DeFranco, et al., No. CV 2003 07153, in which

he affirmed that his name was Antonius M. Heijnen. That case was removed to federal court, and

the federal court ultimately dismissed it. In the course of that case, Heijnen continued to be referred

to as Antonius M. Heijnen. See Heijnen v. DeFranco, et al., Civil Docket No. 03-1338.
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       Heijnen filed a civil action in federal court against agents who investigated the present criminal

case, see Heijnen v. State of New Mexico, et al., Civil Docket No. 02-0008, which the court

dismissed. He again affirmed that his name was Antonius M. Heijnen. Heijnen was also removed to

the District of South Carolina to face trial there, all under the name of Antonius M. Heijnen. See

United States v. Heijnen, Magistrate No. 03-0125. And he submitted this motion for continuance

(Doc. 50), in which he raises the dispute about his name, in the name Antonius Maria Heijnen.

       The original Indictment in this case was filed on October 17, 2003, now some fourteen

months ago. The Superseding Indictment was filed a month later, on November 13, 2003. At the

original arraignment on November 6, 2003, and again at the arraignment on the Superceding

Indictment on November 26, 2003, Heijnen admitted that his name was Antonius Heijnen.

       The Court designated the case complex for Speedy Trial Act purposes. See Order, filed

December 17, 2003 (Doc. 26). The Court held a status conference on this case on October 29, 2004.

After the Court granted Heijnen’s request that his appointed counsel be removed and that he be

permitted to represent himself, Heijnen consented to a trial setting of February 14, 2005. See Clerk’s

Minutes of Status Conference, filed December 16, 2004 (Doc. 46); Order, filed December 17, 2004

(Doc. 47).

       Without acknowledging the Court’s jurisdiction over him, Heijnen represents that he has

recently decided to prepare his own defense in this case and needs to prepare for a “Common Law

trial” as guaranteed by the Seventh Amendment of the United States Constitution. In addition,

although captioned a motion for continuance, Heijnen’s motion includes an additional argument

concerning the capitalization of his name in the Superseding Indictment. Heijnen argues that,

when his name is spelled out in capital letters -- “ANTONIUS MARIA HEIJNEN” -- as in the


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caption of the Superceding Indictment, it is no longer his name and he represents that he can

submit evidence that this capitalized name is not his name, but the name of some fictitious entity.

Heijnen requests that the Court submit evidence that his name is “ANTONIUS MARIA

HEIJNEN” and, if such evidence cannot be produced, that his name be changed or, alternatively,

that the case against him be dismissed.

                                             ANALYSIS

       The Court will deny Heijnen’s motion for a continuance. Heijnen does not state a sound

reason for his request. He gives no explanation why the period between his filing of this motion and

the current trial date of February 14, 2005 is inadequate for the preparation of his defense.

Moreover, Heijnen decided in October, 2004 to prepare his own defense in this case. See Defendant

Heijnen’s Notice of Termination of Appointment of Counsel and Request for Continuance, filed

October 5, 2004 (Doc. 40).

       The public retains a cognizable interest in a speedy trial. See, e.g., 18 U.S.C. § 3161(h)(8)(A)

(requiring a finding that the ends of justice to be served by pretrial delay for, among other things,

unusual complexity, outweigh the best interests of the public and the defendant in a speedy trial). In

the absence of any proffered reason why the ends of justice require further delay, the Court will deny

Heijnen’s motion for continuance.

       There is no sound basis for Heijnen’s argument about the capitalization of his name. Heijnen

submits as authority a reference to the District of Columbia Code, § 1-201.03(7), and asks the Court

to note the difference between “act” and “Act” in the provision. Heijnen argues that, if capitalization

is not relevant, then an act of the Council of the District of Columbia would be the same as an Act

of Congress, and that is not the case. Heijnen contends that an all capitalized name has a different


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meaning than a normal name with initial capital letters. Heijnen also submits that Penhallow v.

Duane’s Administrators, 3 Dall. 54, 1 L. Ed. 507 (1795), provides a more precise explanation and

sets forth the following quotation:

          In asmuch as every government is an artificial person, an abstraction, and a creature
          of the mind only, a government can interface only with other artificial persons. The
          imaginery, having neither actuality nor substance, is foreclosed from creating and
          affirming parity with the tangible. The legal manifestation of this is that no
          government, as well as any law, agency, aspect, court, etc, can concern itself with
          anything other than corporate artificial persons and the contacts between them.1

          Heijnen does not raise a genuine dispute whether the Superseding Indictment names him.

Heijnen objects to the use of block capital letters in the caption of the Superseding Indictment. The

usage is a typographical convention without legal significance. This capitalization does not merit

relief.

          IT IS ORDERED that the Defendant Antonius Maria Heijnen’s Motion for Continuance is

denied.


                                                        ___________________________________
                                                        UNITED STATES DISTRICT JUDGE


David C. Iglesias
  United States Attorney
    for the district of New Mexico
Jonathon M. Gerson
Stephen R. Kotz
  Assistant United States Attorneys
Albuquerque, New Mexico

          Attorneys for the Plaintiff



          1
          The Court was unable to locate this quotation in Penhallow v. Duane’s Administrators, 3
Dall. 54, 1 L. Ed. 507 (1795), or in any other source.

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Antonius Maria Heijnen
Torrance County Detention Center
Estancia, New Mexico

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